            Case 17-40291-JDP Doc 104-9 Filed 09/04/20 Entered 09/04/20 15:06:17 Desc
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                                                       REGISTER OF ACTIONS
                                                        CASE NO. 53-2013-CV-01395

The Westmoreland Company Inc. vs. SE/Z Construction LLC, et al.          §                   Case Type:      Other Civil
                                                                         §                   Date Filed:     12/13/2013
                                                                         §                     Location:     -- Williams County
                                                                         §               Judicial Officer:   Johnson, Benjamen J
                                                                         §
                                                                         §


                                                                  PARTY INFORMATION

                                                                                                                 Attorneys
Defendant     Ace Fire Protection LLC


Defendant     American Engineering Testing Inc.
               St. Paul, MN 55114-1804


Defendant     Cal-Dak Cabinets Inc                                                                               Bryan Lee Van Grinsven
                                                                                                                  Retained
                                                                                                                 701-852-2544 x0000(W)


Defendant     Camp Land Surveyors PLLC


Defendant     KLE Construction LLC                                                                               David Allan Tschider
                                                                                                                  Retained
               Burlington, WA 98233-0636
                                                                                                                 701-258-4000 x0000(W)


Defendant     Northern Improvement Company


Defendant     Sandcreek Welding Inc
               Idaho Falls, ID 83406


Defendant     SE/Z Construction LLC                                                                              Nicholas C. Grant
                                                                                                                  Retained
               Idaho Falls, ID 83401-4023
                                                                                                                 701-225-5297 x0000(W)


Defendant     SE/Z Construction LLC                                                                              Nicholas C. Grant
                                                                                                                  Retained
               Idaho Falls, ID 83401
                                                                                                                 701-225-5297 x0000(W)


Defendant     Strata Corporation                                                                                 Erin P B Zasada
                                                                                                                  Retained
               Grand Forks, ND 58208-3500
                                                                                                                 701-772-8111 x0000(W)


Defendant     The Sherwin-Williams Company                                                                       Ryan Christopher McCamy
                                                                                                                  Retained
               Cleveland, OH 44115-1093
                                                                                                                 701-293-9911 x0000(W)


Defendant     Williams Plumbing & Heating Inc                                                                    Jessica Penkal Hodges
                                                                                                                  Retained
                                                                                                                 406-582-9676 x0000(W)


Defendant     Wutke LLC                                                                                          Christopher . Thompson
                                                                                                                  Retained
                                                                                                                 701-365-8088 x0000(W)


Defendant     Xtreme Electric Contractors LLC                                                                    Margaret C. Weamer
                                                                                                                  Retained
                                                                                                                 406-586-9714 x0000(W)

               Billings, MT 59101-6378
                                                                                                                 Amy Claire McNulty
                                                                                       EXHIBIT "I" - Retained
                                                                                                     - x0000(W)
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Plaintiff     The Westmoreland Company Inc.                                                                       Robert James Pathroff
                                                                                                                   Retained
                Huntsville, AL 35801-4874
                                                                                                                  701-258-7899 x224(W)


                                                             EVENTS & ORDERS OF THE COURT

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             conf #
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             Affidavit of Electronic Service and by Mail on Pavuk, McCamy, Bryan, Flaten, Zasada, Tschider, Grinsven, Thompson, McNulty, Weamer, Hodges,
             Refling, Barnett, Almondinger
02/02/2016 Notice       Index # 215
             Of Jury Trial
02/03/2016 Order       Index # 216
             Regarding Scheduling Conference-emailed to Pathroff, Van Grinsven, Pavuk, Flaten, McCamy, Thompson, Weamer, McNulty
02/04/2016 Notice       Index # 217
             Notice of Appearance - W. Todd Haggart
02/04/2016 Service Document          Index # 218
             Affidavit of Service on Pavuk, Bryan, McCamy, Flaten, Zasada, Tschider, Grinsven, Thompson, McNulty, Weamer, Hodges, Refling
02/29/2016 Letter      Index # 219
             Letter to Judge Nelson regarding Stipulated Scheduling Order
02/29/2016 Stipulation / Agreement         Index # 220
             Stipulated Scheduling Order
02/29/2016 Proposed Order         Index # 221
             Order
02/29/2016 Service Document          Index # 222
             Affidavit of Electronic Service and by Mail on Pavuk, Bryan, McCamy, Flaten, Tschider, Grinsven, Thompson, McNulty, Weamer, Hodges, Refling
             and Steve Almondinger
03/03/2016 Order       Index # 223
             Approving Stipulated Scheduling Order - Emailed to Attorneys Pathroff, Pavuk, Van Grinsven, Tschider, Flaten, McCamy, Thompson, Wearner
05/06/2016 Substitution of Attorneys         Index # 224
             Notice of Substitution of Counsel and Consent to Substitution - Defendant Strata Corporation
05/06/2016 Service Document          Index # 225
             Affidavit of Service - Notice of Substitution of Counsel and Consent to Substitution served to all Counsel
08/26/2016 Stipulation / Agreement         Index # 226
             Stipulation for Dismissal of Sherwin-Williams Company
08/26/2016 Proposed Order         Index # 227
             (proposed) Order Granting Stipulation for Dismissal
08/26/2016 Service Document          Index # 228
             Affidavit of Service on Pavuk, Bryan, McCamy, Flaten, Tschider, Grinsven, Thompson, McNulty, Weamer, Hodgees, Almondinger
08/29/2016 Order       Index # 229
             Granting Stipulation for Dismissal of Sherwin- Williams Company emailed to Attorneys Pathroff, Van Grinsven, Tschider, Pavuk, Zasada, McCamy,
             Thompson, Refling & Weamer 8/29/2016
09/27/2016 Service Document          Index # 230
             Affidavit of Service upon Counsel of Record
09/27/2016 Substitution of Attorneys         Index # 231
             Substitution of Counsel
09/27/2016 Proposed Order         Index # 232
             Proposed Order Granting Substitution of Counsel filed by Attorney Nicholas Grant
10/03/2016 Order       Index # 233
             Granting Substitution of Counsel - emailed to Attys Grant, Pathroff, VanGrinsven, Tschider, Pavuk, Sweat, Zasada, McCamy, Thompson &
             Weamer 10/3/2016
10/04/2016 Service Document          Index # 234
             Affidavit of Service upon Counsel of Record (SE/Z Construction, LLC's Answers and Objections to Plaintiff's First Set of Interrogatories and
             Request for Production of Documents)
11/01/2016 Service Document          Index # 235
             Affidavit of Service upon Counsel of Record
01/13/2017 Stipulation / Agreement         Index # 236
             Amended Stipulated Scheduling Order
01/13/2017 Proposed Order         Index # 237
             (proposed) Order (File by RJ Pathroff)
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01/13/2017 Service Document             Exhibit
                                      Index # 238 I - ND Action Docket Summary                       Page 8 of 10
             Affidavit of Electronic Service and by Mail on Grant, Flaten, Zasada, Tschider, Thompson,Van Grinsven, Hodges, Refling, McNulty, Weamer, Steve
             Almondinger
01/26/2017 Order        Index # 239
             Reassignment Order
01/27/2017 Order        Index # 240
             Order Vacating Reassignment Order
01/27/2017 Order        Index # 241
             - emailed to Attorneys Pathroff, Van Grinsven, Tschider, Grant, Zasada, McCamy, Thompson & Weamer 1/27/2017
04/12/2017 Order        Index # 242
             Reassignment Order
04/13/2017 Service Document           Index # 243
             Affidavit of Service on Counsel of Record - Notice of Bankruptcy
04/13/2017 Notice        Index # 244
             SE/Z Construction, LLC's Notice of Bankruptcy
04/13/2017 Exhibit        Index # 245
             A - Voluntary Petition for Non-Individuals Filing for Bankruptcy
09/18/2017 CANCELED Motion/Hearing (1:00 PM) (Judicial Officer Johnson, Benjamen J)
             Other
             Dispositive Motions
10/05/2017 Motion         Index # 246
             Joint Motion for Limited Stay and Motion for New Scheduling Order
10/05/2017 Brief      Index # 247
             Brief in Support of Joint Motion for Limited Stay and Motion for New Scheduling Order
10/05/2017 Proposed Order          Index # 248
             Proposed Order Granting Joint Motion for Limited Stay and for New Scheduling Order
10/05/2017 Notice        Index # 249
             Rule 3.2 N.D.R.CT. Notice of Motion
10/05/2017 Service of Motion         Index # 250
             Certificate of Service of Joint Motion for Limited Stay on SE/Z Construction LLC et al.
10/06/2017 Notice        Index # 251
             Defendant Xtreme Electric LLC's Notice of Joinder of Williams Plumbing & Heating, Inc.'s Joint Motion for Limited Stay and Motion for New
             Scheduling Order
10/06/2017 Service Document           Index # 252
             Certificate of Electronic Service Upon the Following: Grant, McCamy, Tschider, Flaten, Pathroff, Almondinger, Barnett, Van Grinsven, Thompson,
             Hodges, Refling; By Mail Upon Jensen, McCormick, Almondinger, Camp Land
10/24/2017 Response          Index # 253
             Plaintiff's Response to Motion for Limited Stay and Motion for New Scheduling Order
10/24/2017 Service Document           Index # 254
             Certificate of Service on Grant, Flaten, Zasada, Thompson, Tschider, Grinsven, Hodges, McNulty, Sandcreek Welding
10/24/2017 Response          Index # 255
             Plaintiff's Amended Response to Joint Motion for Limited Stay and Motion for New Scheduling Order
10/24/2017 Service Document           Index # 256
             Affidavit of Service on Grant, Flaten, Zasada, Tschider, Thompson, Van Grinsven, Hodges, Refling, McNulty, Sandcreek Welding
10/30/2017 Brief      Index # 257
             Reply Brief in Support of Joint Motion for Limited Stay and Motion for New Scheduling Order
10/30/2017 Service Document           Index # 258
             Certificate of Service - Pathroff, Grant, Rschider, Weamer, McNulty, McCamy, Van Grinsven and Thompson
10/30/2017 Order        Index # 259
             Order Denying Motion for Limited Stay and New Scheduling Order
12/12/2017 Notice of Hearing         Index # 260
             Telephonic Status Conference
01/04/2018 Status Conference (1:00 PM) (Judicial Officer Johnson, Benjamen J)
             conf # 920089
           Result: Hearing Ended
01/05/2018 Notice of Hearing         Index # 261
             Telephonic Status Conference
01/16/2018 CANCELED Pretrial Conference (2:00 PM) (Judicial Officer Johnson, Benjamen J)
             Other
01/17/2018 CANCELED Jury Trial (9:00 AM) (Judicial Officer Johnson, Benjamen J)
             Per Judge
             9-p, 8-d
07/16/2018 Status Conference (9:00 AM) (Judicial Officer Johnson, Benjamen J)
             conf # 920089
           Result: Hearing Ended
07/16/2018 Notice of Hearing         Index # 262
             Telephonic Status Conference
08/13/2018 Notice        Index # 263
             Notice of Change of Firm Name and Email Addresses and Notice of Attorney Corrections
08/13/2018 Service Document           Index # 264
             Certificate of Service on Pathroff, Grant, Tschider, Weamer, McNulty, McCamy, Van Grinsven, Thompson, Jensen, Camp Land Surveyors PLLC,
             McCormick, and Sandcreek Welding, Inc.
09/11/2018 Status Conference (9:30 AM) (Judicial Officer Johnson, Benjamen J)
             conf # 920089
           Result: Hearing Ended
09/12/2018 Notice of Hearing         Index # 265
             Telephonic Status Conference
12/04/2018 Status Conference (4:00 PM) (Judicial Officer Johnson, Benjamen J)
             conf # 920089
           Result: Hearing Ended
12/05/2018 Notice of Hearing         Index # 266
             Telephonic Status Conference
03/15/2019 Status Conference (9:00 AM) (Judicial Officer Johnson, Benjamen J)
             conf # 920089
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           Result: Hearing Ended       Exhibit I - ND Action Docket Summary Page                    9 of 10
04/03/2019 Service Document          Index # 267
             Affidavit of Service on Counsel of Record and Mailing to Parties not represented by Counsel
04/03/2019 Proposed Order         Index # 268
             for Stay filed by Attorney Nicholas C. Grant
04/05/2019 Order       Index # 269
             for Stay


                                                                  FINANCIAL INFORMATION



             Defendant Camp Land Surveyors PLLC
             Total Financial Assessment                                                                                               50.00
             Total Payments and Credits                                                                                               50.00
             Balance Due as of 08/25/2020                                                                                              0.00

11/21/2014 Transaction Assessment                                                                                                      50.00
11/21/2014 E-File Payment              Receipt # 53-2014-11888                             Camp Land Surveyors PLLC                  (50.00)



             Defendant KLE Construction LLC
             Total Financial Assessment                                                                                               50.00
             Total Payments and Credits                                                                                               50.00
             Balance Due as of 08/25/2020                                                                                              0.00

03/10/2014 Transaction Assessment                                                                                                      50.00
03/10/2014 E-File Payment              Receipt # 53-2014-2320                              KLE Construction, LLC                     (50.00)



             Defendant SE/Z Construction LLC
             Total Financial Assessment                                                                                               50.00
             Total Payments and Credits                                                                                               50.00
             Balance Due as of 08/25/2020                                                                                              0.00

02/03/2014 Transaction Assessment                                                                                                      50.00
02/03/2014 E-File Payment              Receipt # 53-2014-1056                              SE/Z Construction, LLC                    (50.00)



             Defendant Strata Corporation
             Total Financial Assessment                                                                                               50.00
             Total Payments and Credits                                                                                               50.00
             Balance Due as of 08/25/2020                                                                                              0.00

02/20/2014 Transaction Assessment                                                                                                      50.00
02/20/2014 E-File Payment              Receipt # 53-2014-1697                              Strata Corporation                        (50.00)



             Defendant The Sherwin-Williams Company
             Total Financial Assessment                                                                                               50.00
             Total Payments and Credits                                                                                               50.00
             Balance Due as of 08/25/2020                                                                                              0.00

02/14/2014 Transaction Assessment                                                                                                      50.00
02/14/2014 E-File Payment              Receipt # 53-2014-1532                              The Sherwin-Williams Company              (50.00)



             Defendant Xtreme Electric Contractors LLC
             Total Financial Assessment                                                                                               50.00
             Total Payments and Credits                                                                                               50.00
             Balance Due as of 08/25/2020                                                                                              0.00

01/21/2014 Transaction Assessment                                                                                                      50.00
01/21/2014 E-File Payment              Receipt # 53-2014-636                               Xtreme Electric Contractors, LLC          (50.00)



             Plaintiff The Westmoreland Company Inc.
             Total Financial Assessment                                                                                              680.00
             Total Payments and Credits                                                                                              680.00
             Balance Due as of 08/25/2020                                                                                              0.00

12/16/2013   Transaction Assessment                                                                                                    80.00
12/16/2013   E-File Payment            Receipt # 53-2013-12230                             The Westmoreland Company, Inc.            (80.00)
09/22/2014   Transaction Assessment                                                                                                    50.00
09/22/2014   E-File Payment            Receipt # 53-2014-9572                              The Westmoreland Company, Inc.            (50.00)
09/23/2014
09/23/2014
             Transaction Assessment
             E-File Payment            Receipt # 53-2014-9616                                  EXHIBIT "I"
                                                                                           The Westmoreland Company, Inc.
                                                                                                                                       50.00
                                                                                                                                     (50.00)

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11/25/2019 Transaction AssessmentExhibit I - ND Action    Docket Summary Page 10 of 10                       500.00
11/25/2019 Mail Payment            Receipt # 53-2019-11348               Holland & Hart LLP                (500.00)




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